                                      1:22-cv-01075-JES-JEH # 21            Page 1 of 3
                                                                                                           CLOSED,DEC
                                      U.S. District Court
                           Southern District of Illinois (East St. Louis)
                        CIVIL DOCKET FOR CASE #: 3:21−cv−01583−JPG

Moore v. Advanced Technology Services, Inc.                              Date Filed: 12/06/2021
Assigned to: Judge J. Phil Gilbert                                       Date Terminated: 03/09/2022
Cause: 28:1331 Fed. Question: Employment Discrimination                  Jury Demand: Plaintiff
                                                                         Nature of Suit: 442 Civil Rights: Jobs
                                                                         Jurisdiction: Federal Question
Plaintiff
Gage Moore                                                represented by Ryan M. Furniss
                                                                         Furniss Law Firm, LLC
                                                                         7750 Clayton Road
                                                                         Suite 102
                                                                         St. Louis, MO 63117
                                                                         314−899−9101
                                                                         Fax: 314−627−5891
                                                                         Email: rfurniss@furnisslaw.com
                                                                         ATTORNEY TO BE NOTICED


V.
Defendant
Advanced Technology Services, Inc.                        represented by David G. Lubben
                                                                         Davis & Campbell
                                                                         401 Main Street
                                                                         Suite 1600
                                                                         Peoria, IL 61602
                                                                         309−673−1681
                                                                         Email: dglubben@dcamplaw.com
                                                                         LEAD ATTORNEY
                                                                         ATTORNEY TO BE NOTICED

                                                                         Julie A. Noel
                                                                         Davis & Campbell
                                                                         401 Main Street
                                                                         Suite 1600
                                                                         Peoria, IL 61602
                                                                         309−673−1681
                                                                         Email: janoel@dcamplaw.com
                                                                         ATTORNEY TO BE NOTICED

Email All Attorneys
Email All Attorneys and Additional Recipients

 Date Filed       #    Docket Text

 12/06/2021      Ï1    COMPLAINT against Advanced Technology Services, Inc. ( Filing fee $ 402 receipt number
                       AILSDC−4648832.), filed by Gage Moore. (Attachments: # 1 Exhibit 1 − EEOC Notice of Right to
                       Sue, # 2 Exhibit 2 − IDHR Notice of Right to Sue, # 3 Civil Cover Sheet)(Furniss, Ryan) (Entered:
                                    1:22-cv-01075-JES-JEH # 21               Page 2 of 3
                    12/06/2021)

12/06/2021    Ï2    NOTICE of Appearance by Ryan M. Furniss on behalf of Gage Moore (Furniss, Ryan) (Entered:
                    12/06/2021)

12/06/2021    Ï3    REQUEST FOR WAIVER of Service sent to Advanced Technology Services, Inc. on 12/6/2021 by
                    Gage Moore. Waiver of Service due by 1/5/2022. (Attachments: # 1 Waiver of Service
                    Form)(Furniss, Ryan) (Entered: 12/06/2021)

12/06/2021    Ï4    NOTICE OF INITIAL ASSIGNMENT TO A U.S. MAGISTRATE JUDGE: This case has been
                    randomly assigned to United States Magistrate Judge Gilbert C. Sison pursuant to Administrative
                    Order No. 257. The parties are advised that their consent is required if the assigned Magistrate
                    Judge is to conduct all further proceedings in the case, including trial and final entry of judgment
                    pursuant to 28 U.S.C. 636(c) and Federal Rule of Civil Procedure 73. As set forth in Administrative
                    Order No. 257, each party will be required to file a Notice and Consent to Proceed Before a
                    Magistrate Judge Jurisdiction form indicating consent or nonconsent to the jurisdiction of the
                    assigned Magistrate Judge. If all parties do not consent to the Magistrate Judge's jurisdiction, the
                    case will be randomly assigned to a district judge for all further proceedings and the parties cannot
                    later consent to reassignment of the case to a magistrate judge. The parties are further advised that
                    they are free to withhold consent without adverse substantive consequences. Within 21 days of this
                    Notice, the following party or parties must file the attached form indicating consent to proceed
                    before the assigned Magistrate Judge or an affirmative declination to consent: Gage Moore. A link
                    regarding the magistrate judges in this district is attached for your convenience:
                    http://www.ilsd.uscourts.gov/documents/BenefitsofConsent.pdf. All future documents must bear
                    case number 3:21−cv−1583−GCS. Refer to Civil/Removal Case Processing Requirements, found
                    on the ILSD website, for further service information. Consent due by 12/27/2021. (kls3) (Entered:
                    12/06/2021)

12/06/2021    Ï5    NOTICE REGARDING FILING: The Civil Cover Sheet and submitted Request for Waiver of
                    Service are fillable documents. Fillable documents should be converted to non−fillable PDF
                    documents before filing on CM/ECF. This Notice is sent for informational purposes only.
                    (kls3)THIS TEXT ENTRY IS AN ORDER OF THE COURT. NO FURTHER
                    DOCUMENTATION WILL BE MAILED. (Entered: 12/06/2021)

12/08/2021    Ï6    CONSENT/NON−CONSENT TO U.S. MAGISTRATE JUDGE − sealed pending receipt from all
                    parties. (Furniss, Ryan) (Entered: 12/08/2021)

01/06/2022    Ï7    WAIVER OF SERVICE Returned Executed by Gage Moore. Advanced Technology Services, Inc.
                    waiver sent on 12/6/2021, answer due 2/4/2022. (Furniss, Ryan) (Entered: 01/06/2022)

02/01/2022    Ï8    MOTION to Transfer Case to the Central District of Illinois by Advanced Technology Services,
                    Inc.. (Attachments: # 1 Exhibit Declaration of Tyler Manning with NDA, # 2 Exhibit Federal court
                    statistics tables)(Lubben, David) (Entered: 02/01/2022)

02/01/2022    Ï9    Corporate Disclosure Statement by Advanced Technology Services, Inc.. (Lubben, David)
                    (Entered: 02/01/2022)

02/01/2022   Ï 10   NOTICE OF ACTION re 8 Motion to Transfer Case filed by Advanced Technology Services, Inc.
                    See Local Rule 83.1(f). In all cases filed in, removed to, or transferred to this Court, all attorneys,
                    including government attorneys, shall file a written entry of appearance before addressing the court.
                    Attorney Lubben does not have a Notice of Appearance on file in this case. (kls3)THIS TEXT
                    ENTRY IS AN ORDER OF THE COURT. NO FURTHER DOCUMENTATION WILL BE
                    MAILED. (Entered: 02/01/2022)

02/01/2022   Ï 11   NOTICE of Appearance by David G. Lubben on behalf of Advanced Technology Services, Inc.
                    (Lubben, David) (Entered: 02/01/2022)
                                   1:22-cv-01075-JES-JEH # 21               Page 3 of 3
02/02/2022   Ï 12   NOTICE FROM CLERK Instructing Advanced Technology Services, Inc. to file Notice and
                    Consent to Proceed Before A Magistrate Judge Jurisdiction Form: Pursuant to Administrative Order
                    No. 257, within 21 days of this Notice, you must file the attached form indicating your consent to
                    proceed before a Magistrate Judge or an affirmative declination to consent. A link regarding the
                    magistrate judges in this district is attached for your convenience:
                    http://www.ilsd.uscourts.gov/documents/BenefitsofConsent.pdf. Consent/Non−Consent to U.S.
                    Magistrate Judge Jurisdiction form sent to Advanced Technology Services, Inc. on 2/2/2022.
                    Consent due by 2/23/2022.(kls3) (Entered: 02/02/2022)

02/02/2022   Ï 13   NOTICE of Appearance by Julie A. Noel on behalf of Advanced Technology Services, Inc. (Noel,
                    Julie) (Entered: 02/02/2022)

02/03/2022   Ï 14   CONSENT/NON−CONSENT TO U.S. MAGISTRATE JUDGE − sealed pending receipt from all
                    parties. (Lubben, David) (Entered: 02/03/2022)

02/03/2022   Ï 15   NOTICE TERMINATING JUDGE ASSIGNMENT: Pursuant to Administrative Order No. 257,
                    and a request for reassignment having been received, this case, in its entirety, is hereby reassigned
                    to Judge J. Phil Gilbert for further proceedings. Magistrate Judge Gilbert C. Sison no longer
                    assigned to the case. All future documents must bear case number 3:21−cv−1583−JPG. (kls3)THIS
                    TEXT ENTRY IS AN ORDER OF THE COURT. NO FURTHER DOCUMENTATION WILL BE
                    MAILED. (Entered: 02/03/2022)

02/04/2022   Ï 16   MOTION to Dismiss for Failure to State a Claim by Advanced Technology Services, Inc.. (Noel,
                    Julie) (Entered: 02/04/2022)

02/04/2022   Ï 17   MEMORANDUM in Support re 16 MOTION to Dismiss for Failure to State a Claim filed by
                    Advanced Technology Services, Inc.. (Noel, Julie) (Entered: 02/04/2022)

02/11/2022   Ï 18   Consent MOTION for Extension of Time to File Response/Reply as to 16 MOTION to Dismiss for
                    Failure to State a Claim , 8 MOTION to Transfer Case to the Central District of Illinois by Gage
                    Moore. (Furniss, Ryan) (Entered: 02/11/2022)

02/14/2022   Ï 19   ORDER granting 18 Plaintiff's Motion for Extension of Time to File Response to 8 Motion to
                    Transfer Venue. Plaintiff's response to 8 Motion to Transfer Venue and 16 Defendant's Partial
                    Partial Motion to Dismiss is due 3/7/2022. Signed by Judge J. Phil Gilbert on 2/14/2022. (jsh)THIS
                    TEXT ENTRY IS AN ORDER OF THE COURT. NO FURTHER DOCUMENTATION WILL BE
                    MAILED. (Entered: 02/14/2022)

02/14/2022     Ï    Set/Reset Deadlines as to 16 MOTION to Dismiss for Failure to State a Claim , 8 MOTION to
                    Transfer Case to the Central District of Illinois. Responses due by 3/7/2022, per Order at Doc. 19.
                    (kls3) (Entered: 02/14/2022)

03/09/2022   Ï 20   ORDER TRANSFERRING CASE TO OTHER DISTRICT: Case transferred to Central District of
                    Illinois. Signed by Judge J. Phil Gilbert on 3/9/2022. (jdh) (Entered: 03/09/2022)
